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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        ) 2:09-cr-00449-JAM
                                      )
12             Plaintiff,             ) APPLICATION FOR ORDER
                                      ) REGARDING CRIMINAL FORFEITURE
13        v.                          ) OF PROPERTY IN GOVERNMENT
                                      ) CUSTODY - 18 U.S.C. §
14   JOSEPH HATFIELD, and             ) 983(a)(3)(B)(ii)(II)
     JAHMEELAH SULLINS,               )
15                                    )
               Defendants.            )
16   _________________________________)
17        The United States of America, through its counsel, hereby
18   moves for an order allowing the government to maintain custody of
19   property already in the government’s possession pending the
20   resolution of a criminal forfeiture matter.          The grounds for the
21   motion are as follows:
22        On or about February 12, 2009, Sacramento County Sheriff’s
23   Department was contacted by a Southwest Airline Baggage Agent at
24   Sacramento International Airport regarding an unidentified
25   suitcase left in the baggage claim area.         Pursuant to Southwest
26   Airlines policy, employees of the airline opened the suitcase and
27   found a volume of counterfeited credit cards, a fraudulent
28   California driver’s license in the name of Adam Constant, an

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 1   alias used by Joseph Hatfield (hereafter “Hatfield”), and a
 2   credit card reader/encoder device used to read and manufacture
 3   counterfeited credit cards.
 4          On or about July 1, 2009, agents with the Sacramento Valley
 5   Hi-Tech Crimes Task Force (“SVHTC”), the United States Secret
 6   Service (“USSS”) and the Sacramento County Sheriff’s Department
 7   executed a State search warrant at a residence located at 5951
 8   Riverside Blvd., Apartment #211, Sacramento, California.                   The
 9   officers seized the following during the execution of the State
10   search warrant:
11          a)      Toshiba lap top computer;
            b)      Two reader/encoders;
12          c)      Skimmer;
            d)      Approximately $26,900 in U.S. Currency; and
13          e)      Gold and diamond earrings.
14   Hereinafter, the above-referenced assets are referred to as the
15   “seized assets”.
16          On October 22, 2009, the Grand Jury returned an Indictment
17   containing forfeiture allegations that include the seized assets.
18   The Indictment alleges that the seized assets are subject to
19   forfeiture pursuant to 18 U.S.C. § 982(a)(2)(B) and 18 U.S.C. §
20   1029(c)(1)(C).
21          Title    18 U.S.C. § 982(b)(1) and 18 U.S.C. § 1029(c)(2)
22   incorporate the forfeiture procedures set forth in 21 U.S.C. §
23   853.    That statute provides several methods for preserving
24   property for the purpose of criminal forfeiture.               One such
25   provision authorizes a court upon the filing of an indictment
26   charging an offense for which forfeiture may be ordered and
27   alleging that specific property would, in the event of
28   conviction, be subject to forfeiture to "take any other action to

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 1   preserve the availability" of such property.            See 21 U.S.C. §
 2   853(e)(1)(A).   Such restraining orders may be entered ex parte.
 3   And, in entering the order, the Court may rely on the grand
 4   jury’s return of an indictment specifying that the property
 5   shall, upon conviction, be subject to forfeiture to the United
 6   States.   See, e.g., United States v. Jamieson, 427 F.3d 394, 405-
 7   06 (6th Cir. 2005) (initial issuance of restraining order under
 8   Section 853(e)(1)(A) may be ex parte and based on grand jury’s
 9   finding of probable cause).
10        The government contends here that the "take any other action
11   to preserve the availability" of property provision of Section
12   853(e)(1)(A) applies in circumstances where, as here, the
13   government has already obtained lawful custody of the assets
14   pursuant to a State search warrant, and the policies in place at
15   Southwest Airlines, and the government seeks to continue to
16   maintain custody of such assets pending further criminal
17   forfeiture proceedings.    Accordingly, pursuant to Section
18   853(e)(1)(A) of Title 21, the United States respectfully moves
19   this court to issue an ex parte order based on the grand jury’s
20   finding of probable cause that directs the United States may
21   maintain custody of the seized assets through the conclusion of
22   the pending criminal case.
23   DATED: November 10, 2009               BENJAMIN B. WAGNER
                                            United States Attorney
24
25                                           /s/ Robin R. Taylor
                                            ROBIN R. TAYLOR
26                                          Assistant U.S. Attorney
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 1                                    ORDER
 2        This matter comes before the Court on the motion of the
 3   United States for an Order authorizing the government and its
 4   agencies to maintain custody of certain property pending the
 5   conclusion of the pending criminal case.          For the reasons
 6   provided in the government’s motion, the Court makes the
 7   following orders:
 8        IT IS HEREBY ORDERED, that the United States and its
 9   agencies, including the United States Secret Service (or a
10   designee), are authorized to maintain and preserve the following
11   assets until the conclusion of the instant criminal case, or
12   pending further Order of this Court:
13        a)   Toshiba lap top computer;
          b)   Two reader/encoders;
14        c)   Skimmer;
          d)   Approximately $26,900 in U.S. Currency; and
15        e)   Gold and diamond earrings.
16        IT IS SO ORDERED.
17   DATED: 11/10/2009                        /s/ John A. Mendez
                                              JOHN A. MENDEZ
18                                            UNITED STATES DISTRICT JUDGE
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